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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    X CORP.,
                                                    COMPLAINT FOR
                                Plaintiff,          DECLARATORY AND
          -against-                                 INJUNCTIVE RELIEF
    LETITIA JAMES, in her official capacity, as
    Attorney General of New York,                              25-cv-5068
                                                    Case No. _____________
                                Defendant.          JURY TRIAL DEMANDED




         Plaintiff X Corp., by and through its attorneys, Cahill Gordon & Reindel LLP, alleges for

its complaint against the above-named Defendant, as follows:

                                   NATURE OF THE ACTION

         1.      Plaintiff X Corp. brings this action challenging the constitutionality and legal

validity of certain provisions within New York Senate Bill S895B1 that force social media

companies (collectively, the “covered companies”) to divulge—under threat of significant

financial penalties and lawsuits for injunctive relief—highly sensitive information about whether,

and if so how, their platforms define and moderate (i) hate speech or racism, (ii) extremism or

radicalization, (iii) disinformation or misinformation, (iv) harassment, and (v) foreign political

interference. See N.Y. Gen. Bus. Law §§ 1102(1)(c), 1102(1)(d)(i), 1102(1)(e), and 1103 (only

insofar as it applies to the prior three provisions) (collectively, the “Content Category Report

Provisions”).




1
 S895B is codified at Article 42 (Sections 1100–1104) of the New York General Business Law. For the
Court’s convenience, S895B is provided in its entirety as Exhibit 1.
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       2.      The Content Category Report Provisions violate the First Amendment of the United

States Constitution and Article I, Section 8, of the New York Constitution. On their face, the

provisions compel disclosure of highly sensitive and controversial speech that is both fully

protected by the First Amendment and that is disfavored by the State of New York. The law thus

impermissibly interferes with the First Amendment-protected editorial judgments of companies

such as X Corp. to remove, demonetize, or deprioritize such speech on their platforms. See Moody

v. NetChoice, LLC, 603 U.S. 707, 729–30, 744 (2024). That the Content Category Report

Provisions attempt to tilt the marketplace of ideas by utilizing public pressure to achieve this aim

does not save them, as the government “cannot do indirectly what [it] is barred from doing

directly.” Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 190 (2024); see also NetChoice, LLC

v. Bonta, 113 F.4th 1101, 1118 (9th Cir. 2024) (striking down law on First Amendment grounds

that “deputizes covered businesses into serving as censors for the State”).2

       3.      S895B is based on a nearly identical California law—California Assembly Bill No.

587 (“AB 587”)3—that was successfully challenged by X Corp. in federal court in California on

identical grounds to the challenge brought here. See X Corp. v. Bonta, No. 2:23-cv-01939-WBS-

AC (E.D. Cal.). After lengthy litigation about the constitutionality of California’s AB 587, on

September 4, 2024, the Ninth Circuit Court of Appeals granted a preliminary injunction preventing

enforcement of the portions of the law that are analogous to the Content Category Report

Provisions of S895B challenged here. The Ninth Circuit held that X Corp. was likely to prevail



2
 Unless otherwise indicated, emphases in quotes are added and internal citations and quotations are
omitted.
3
 AB 587 is provided as Exhibit 2. See also, e.g., Ex. 3 at 220 (June 6, 2024 New York State Assembly
Floor      Debates,      2023–24         Reg.      Sess.       (N.Y.      2024),     available    at
https://www2.assembly.state.ny.us/write/upload/transcripts/2023/6-6-24.pdf#search=%226789%22) (bill
sponsor Assemb. Member Grace Lee noting that S895B is “identical” to AB 587).


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on its facial First Amendment challenge of those provisions. See X Corp. v. Bonta, 116 F.4th 888

(9th Cir. 2024).

       4.      The thoughtful, reasoned decision of the Ninth Circuit explained that AB 587’s

“Content Category Report provisions likely compel non-commercial speech and are subject to

strict scrutiny, under which they do not survive,” because they, among other things, require social

media companies to “recast [their] content-moderation practices in language prescribed by the

State” and “opin[e] on whether and how certain controversial categories of content should be

moderated.” Id. at 898, 901; see also id. at 899 n.8 (“No matter how a social media company

chooses to moderate such content, the company will face backlash from its users and the public.

That is true even if the company decides not to define the enumerated categories, because they will

draw criticism for under-moderating their community.”).

       5.      The Ninth Circuit further held that the “Content Category Report provisions compel

every covered social media company to reveal its policy opinion about contentious issues, such as

what constitutes hate speech or misinformation and whether to moderate such expression,” and

thus “raise the same First Amendment issues for every covered social media company.” Id. at 899.

       6.      Shortly after the Ninth Circuit’s ruling, the California Attorney General, Robert

Bonta, agreed to a settlement that provided for a permanent injunction preventing enforcement of

the portions of the law that were preliminarily enjoined by the Ninth Circuit and further provided

for payment by the State of California of certain of X Corp.’s fees and expenses.

       7.      On March 4, 2025, pursuant to that settlement, the United States District Court for

the Eastern District of California judicially declared that the Content Category Report Provisions

of AB 587 violate the First Amendment of the U.S. Constitution, both facially and as-applied to X

Corp. See Ex. 4 at 2 (Order and Final Judgment and Permanent Injunction, X Corp. v. Bonta, No.




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2:23-cv-01939-WBS-AC (E.D. Cal. Mar. 4, 2025), Dkt. No. 59). The Final Judgment and

Permanent Injunction also required the California Attorney General to pay X Corp. $345,576 to

cover its fees and costs incurred in connection with its prosecution of AB 587. Id. at 3.

        8.      The Content Category Report Provisions challenged in this case are a carbon copy

of the provisions of AB 587 that were preliminarily enjoined by the Ninth Circuit and permanently

enjoined as part of the settlement of X Corp. v. Bonta, No. 2:23-cv-01939-WBS-AC (E.D. Cal.).

        9.      The New York legislature cited the existence of California’s AB 587 as support for

S895B.4 But inexplicably, not only did the New York legislature fail to revisit S895B after the

Ninth Circuit’s decision, it “refuse[d]” to even have a “discussion” with X Corp. about “potential

changes” to S895B after the Ninth Circuit’s ruling. In rejecting an overture from X Corp. to

discuss such changes, the bill sponsors stated that they “decline the request on behalf of your client,

X, to discuss amendments to [S895B]” because, in the view of the sponsors, X’s “owner, Elon

Musk” used the X platform to promote content that, in the view of the bill sponsors, “threatens the

foundations of our democracy”––indicating that S895B’s passage was tainted by viewpoint

discriminatory motives. Ex. 5 at 1–3 (Letter from Bill Sponsors Sen. Brad Hoylman-Sigal and

Assemb. Member Grace Lee to X Corp. (Sept. 9, 2024)).5




4
  Ex. 3 at 220 (June 6, 2024 New York State Assembly Floor Debates, 2023–24 Reg. Sess. (N.Y. 2024),
available             at             https://www2.assembly.state.ny.us/write/upload/transcripts/2023/6-6-
24.pdf#search=%226789%22) (citing X Corp. v. Bonta, 2023 WL 8948286 (E.D. Cal. Dec. 28, 2023)
(finding that AB 587 likely did not violate the First Amendment), rev’d and remanded, 116 F.4th 888 (9th
Cir. 2024)); see also X Corp., 116 F.4th at 902 (noting that the “district court performed, essentially, no
analysis” on the question of whether the Content Category Report Provisions compelled commercial
speech).
5
 Available at https://www.nysenate.gov/sites/default/files/admin/structure/media/manage/filefile/a/2024-
09/twitter-letter.pdf.


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        10.     The Content Category Report Provisions of S895B violate the First Amendment

for all of the reasons that the Ninth Circuit concluded that the Content Category Report Provisions

of California’s AB 587 likely violated the First Amendment.

        11.     The Content Category Report Provisions also violate the immunity provided to

interactive computer service providers such as X Corp. under 47 U.S.C. § 230(c)(2)(A), which

prohibits liability “on account” of “any action voluntarily taken in good faith to restrict access to

or availability of material that the provider or user considers to be obscene, lewd, lascivious, filthy,

excessively violent, harassing, or otherwise objectionable, whether or not such material is

constitutionally protected.” The Content Category Report Provisions contravene that immunity

by imposing monetary fines and suits for injunctive relief on X Corp. if it “restrict[s] access” to

content on its platform in a way that, in the unfettered discretion of Defendant, “misrepresents”

information in a Terms of Service Report. See § 1103(1)(b)(iii). This directly contravenes the

immunities afforded under Section 230. Compare, e.g., Doe v. Internet Brands, Inc., 824 F.3d

846, 851–52 (9th Cir. 2016) (Section 230 protects the ability to “self-regulate offensive third party

content without fear of liability”), with Ex. 6 (ADL, Senator Brad Hoylman-Sigal, and AM Grace

Lee Demand Social Media Companies Stop Hiding Hate, nysenate.gov (May 23, 2023))6 (“[W]e

cannot rely on social media companies to consistently self-regulate.”).

        12.      In pursuing this action, X Corp. seeks declaratory relief and injunctive relief on

the grounds that S895B violates (i) X Corp.’s and the other covered companies’ free speech rights

under the First Amendment of the United States Constitution and Article I, Section 8, of the New




6
  Available at https://www.nysenate.gov/newsroom/press-releases/2023/brad-hoylman-sigal/adl-senator-
brad-hoylman-sigal-and-am-grace-lee.


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York Constitution and (ii) the immunity afforded to X Corp. and the other covered companies

under 47 U.S.C. § 230(c)(2)(A).

         13.   In pursuing this action, X Corp. seeks to vindicate the deprivation of constitutional

rights under color of state statute, ordinance, regulation, custom, and/or usage. X Corp. is also

entitled to attorneys’ fees and costs if it prevails on any of its Section 1983 claims. See 42 U.S.C.

§ 1988.

                                             PARTIES

         14.   Plaintiff X Corp. is a corporation organized and existing under the laws of the State

of Nevada, with its principal place of business in Bastrop, Texas. X Corp. provides the X service,

which is a real-time, open, public conversation platform, where people can see every side of a

topic, discover news, share their perspectives, and engage in discussion and debate. X allows

people to create, distribute, and discover content and has democratized content creation and

distribution. X allows users to create and share ideas and information instantly through various

product features, including public posts.

         15.   S895B and the Content Category Report Provisions therein apply to X Corp.

because it is a “social media company,” as defined in the statute—i.e., an “entity that owns or

operates one or more social media platforms,” see § 1100(4)—and has generated more than $100

million in gross revenue in the preceding calendar year. See § 1104 (exempting social media

companies that generated less than $100 million in gross revenue during the preceding calendar

year).

         16.   X is a “social media platform,” as defined by S895B, because it is a public internet-

based service or application with users in New York and (i) “[a] substantial function of the service

or application is to connect users in order to allow users to interact socially with each other within




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the service or application” and (ii) it allows its users to (a) “construct a public or semipublic profile

for purposes of signing into and using the service or application”; (b) “populate a list of other users

with whom an individual shares a social connection within the system”; and (c) “create or post

content viewable or audible by other users, including, but not limited to, livestreams, on message

boards, in chat rooms, or through a landing page or main feed that presents the user with content

generated by other users.” § 1100(5).

        17.      Defendant Letitia James is the Attorney General of the State of New York and is

charged with enforcing S895B. See § 1103(2). X Corp. sues Attorney General James in her

official capacity as the person charged with enforcing S895B and its Content Category Report

Provisions.

                                          JURISDICTION

        18.      This Court has jurisdiction over X Corp.’s federal claims pursuant to 28 U.S.C.

§§ 1331 and 1343(a) and 42 U.S.C. § 1983, because X Corp. alleges violations of its rights under

the U.S. Constitution and laws of the United States. The Court has jurisdiction over X Corp.’s

state claim pursuant to 28 U.S.C. § 1367.

        19.      This Court has authority to grant declaratory and injunctive relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202, and under the Court’s inherent equitable

jurisdiction.

                                               VENUE

        20.      Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2)

because the Defendant is located, resides, and has offices in this judicial district and in the State

of New York, and the violations of X Corp.’s rights are occurring and/or will occur within this

judicial district.




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                                  FACTUAL ALLEGATIONS

  I.   S895B’s Statutory Scheme

       21.      S895B, which applies to “social media companies” (defined as persons or entities

owning or operating one or more “social media platforms”), has three main components—(i) a

requirement that social media companies publicly post their terms of service, including processes

for flagging content and potential actions that may be taken with respect to flagged content

(“Terms of Service Requirement”), see § 1101; (ii) a requirement that social media companies

submit a report to the New York Attorney General, who will in turn disseminate the report publicly,

that includes, among other things, whether and, if so, how the company defines and/or moderates

hate speech, racism, extremism, radicalization, disinformation, misinformation, harassment, and

foreign political interference and certain statistics relating to moderation of those categories of

content (“Terms of Service Report”), see § 1102; and (iii) a penalty provision, whereby companies

may be liable to pay $15,000 per violation per day and may be sued in court by the New York

Attorney General for (a) violating the Terms of Service Requirement, (b) failing to timely submit

a Terms of Service Report, or (c) materially omitting or misrepresenting required information in a

Terms of Service Report, see § 1103.

             a. Required Disclosure of Terms of Service (Terms of Service Requirement)

       22.      S895B’s Terms of Service Requirement mandates that social media companies

publicly post, “in a manner reasonably designed to inform all users” of its “existence and contents,”

the “terms of service for each social media platform” they own or operate. § 1101(1). The terms

of service must include (i) “contact information,” so users may “ask the social media company

questions about” the terms, (ii) a “description of the process that users must follow to flag content,

groups, or other users that they believe violate the terms of service,” as well as “the social media




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company’s commitments on response and resolution time,” and (iii) a “list of potential actions the

social media company may take against an item of content or a user, including, but not limited to,

removal, demonetization, deprioritization, or banning.” § 1101(2).

              b. Terms of Service Report

        23.      S895B requires social media companies to submit semiannual Terms of Service

Reports, on April 1 and October 1 of each year, to the New York Attorney General, who will then

make them publicly available on the Attorney General’s website. See § 1102(2)(a).7 The Terms

of Service Report must include:

     a. A statement of whether, and if so how, the platform’s terms of use define hate speech,

         racism, extremism, radicalization, disinformation, misinformation, harassment, and

         foreign political interference, § 1102(1)(c);

     b. The current version of the terms of service and a “complete and detailed description of

         any changes” to the terms since any previous report, § 1102(1)(a)–(b);

     c. A “detailed description” of the platform’s “content moderation practices,” including, but

         not limited to:

                i. Any “existing policies intended to address the categories of content described in

                   [§ 1102(1)(c)],” § 1102(1)(d)(i);

                ii. How “automated content moderation systems enforce” the platform’s terms of

                   service and “when these systems involve human review,” § 1102(1)(d)(ii);




7
  Notwithstanding the requirements of Section 1102(2)(a), the first Content Category Report, covering
activity within the third quarter of 2025, is due to the New York Attorney General no later than January 1,
2026; and the second Content Category Report, covering activity within the fourth quarter of 2025, is due
to the New York Attorney General no later than April 1, 2026. § 1102(2)(b).


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        iii. How the “company responds to user reports of violations of the terms of

            service,” § 1102(1)(d)(iii); and

        iv. How the “company would remove individual pieces of content, users, or groups

            that violate the terms of service, or take broader action against” individuals or

            groups of users “that violate the terms of service,” § 1102(1)(d)(iv);

d. Information about “content that was flagged by the social media company as content

   belonging to any of the categories described in” § 1102(1)(c), including:

         i. The “total number of flagged items of content,” § 1102(1)(e)(i)(A);

         ii. The “total number of actioned items of content,” § 1102(1)(e)(i)(B);

        iii. The “total number of actioned items of content that resulted in action taken by

            the social media company against the user or group of users responsible for the

            content,” § 1102(1)(e)(i)(C);

        iv. The “total number of actioned items of content that were removed, demonetized,

            or deprioritized” by the company, § 1102(1)(e)(i)(D);

         v. The “number of times actioned items of content were viewed by users,” §

            1102(1)(e)(i)(E);

        vi. The “number of times actioned items of content were shared, and the number of

            users that viewed or heard the content before it was actioned,” §

            1102(1)(e)(i)(F); and

       vii. The “number of times users appealed social media company actions taken on”

            the platform and the “number of reversals of social media company actions on

            appeal disaggregated by each type of action,” § 1102(1)(e)(i)(G);

e. All of the information required by § 1102(1)(e)(i) “disaggregated” by:




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               i. The “category of content, including any relevant categories described in [§

                  1102(1)(c)],” § 1102(1)(e)(ii)(A);

              ii. The “type of content” (e.g., “posts, livestreams, comments, messages, profiles

                  of users, or groups of users”), § 1102(1)(e)(ii)(B);

             iii. The “type of media of the content” (e.g., “text, images, livestreams, and

                  videos”), § 1102(1)(e)(ii)(C);

             iv. How “the content was flagged” (e.g., “flagged by company employees or

                  contractors, flagged by artificial intelligence software, flagged by community

                  moderators, flagged by civil society partners, and flagged by users”), §

                  1102(1)(e)(ii)(D); and

              v. How “the content was actioned” (e.g., “actioned by company employees or

                  contractors, actioned by artificial intelligence software, actioned by community

                  moderators, actioned by civil society partners, and actioned by users”), §

                  1102(1)(e)(ii)(E).

       24.     In this case, X Corp. challenges only those provisions of the Terms of Service

Report that require certain disclosures and statistics concerning the statute’s specified categories

of controversial content—specifically, §§ 1102(1)(c), 1102(1)(d)(i), and 1102(1)(e), which are

referred to here as the “Content Category Report Provisions.”

       25.     The Content Category Report Provisions are an impermissible attempt by the State

to inject itself into the content-moderation editorial process. By requiring detailed disclosures

about how certain controversial content is moderated, the State is impermissibly compelling social

media companies to make disclosures about how their editorial processes work. By compelling

social media companies to make politically charged disclosures about content moderation, the




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State is impermissibly trying to generate public controversy about content moderation in a way

that will pressure social media companies, such as X Corp., to restrict, limit, disfavor, or censor

certain constitutionally protected content on X that the State dislikes.

       26.      These forced disclosures violate the First Amendment of the U.S. Constitution and

Article I, Section 8, of the New York Constitution.

             c. Penalties

       27.      S895B also sets forth a penalty scheme under which social media companies may

be fined $15,000 per violation per day, and may be enjoined in any court of competent jurisdiction

by the New York Attorney General if the company (i) “fails to post terms of service in accordance

with” Section 1102, (ii) “fails to timely submit” a Terms of Service Report, or (iii) “materially

omits or misrepresents required information in” a Terms of Service Report. § 1103(1)(a)–(b).

S895B’s penalty provision further instructs that the court shall, “[i]n assessing the amount of a

civil penalty pursuant to” Section 1103(1)(a), “consider whether the social media company has

made a reasonable, good faith attempt to comply with the provisions of this article.” § 1103(1)(c).

 II.   S895B and its Content Category Report Provisions Impermissibly Substitute the
       Government’s Judgment About Content Moderation for That of Covered Social
       Media Platforms

       28.      The topics that S895B forces social media platforms to speak about against their

will are highly controversial and politically charged. Those categories were taken word-for-word

from California’s AB 587. Compare §§ 1102(1)(c), 1102(1)(d)(1), and 1102(1)(e), with Cal. Bus.

& Prof. Code §§ 22677(a)(3), (a)(4)(A), and (a)(5). The legislative history of AB 587 makes clear

that those categories of content were selected largely because they are the most controversial. As

the Assembly Reports from the California Legislature’s Committee on Privacy and Consumer




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Protection make clear, the categories of content covered by the statute are the most difficult to

define and moderate because they are “fraught with political bias”:

       As online social media become increasingly central to the public discourse, the
       companies responsible for managing social media platforms are faced with a
       complex dilemma regarding content moderation, i.e., how the platforms determine
       what content warrants disciplinary action such as removal of the item or banning
       of the user. In broad terms, there is a general public consensus that certain types of
       content, such as child pornography, depictions of graphic violence, emotional
       abuse, and threats of physical harm are undesirable, and should be mitigated on
       these platforms to the extent possible. Many other categories of information,
       however, such as hate speech, racism, extremism, misinformation, political
       interference, and harassment [i.e., the categories that are the focus of
       California’s AB 587 and New York’s S895B], are far more difficult to reliably
       define, and assignment of their boundaries is often fraught with political bias. In
       such cases, both action and inaction by these companies seems to be equally
       maligned: too much moderation and accusations of censorship and suppressed
       speech arise; too little, and the platform risks fostering a toxic, sometimes
       dangerous community.

Ex. 7 (CAL. ASSEMBLY COMM. ON PRIV. AND CONSUMER PROT., AB 587, 2021–22 Sess., at 4 (Apr.

22, 2021)).

       29.     By requiring X and the other covered platforms to disclose whether and, if so, how

they regulate the controversial and difficult-to-define categories of content targeted by Section

1102(1)(c), the Content Category Report Provisions impermissibly attempt to pressure the covered

platforms to adopt—and regulate—these categories of content, even if X Corp. would prefer to

categorize content differently.

       30.     The legislative history of California’s AB 587 (upon which S895B is based) makes

this plain. As the California Assembly’s Committee on the Judiciary report on AB 587 conceded,

the intent of the law was, in part, to “pressure” social media companies to do more to eliminate the

controversial categories of content covered by the Content Category Report Provisions. As the

California legislature put it, “if social media companies are forced to disclose what they do in this

regard [i.e., how they moderate online content], it may pressure them to become better corporate



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citizens by doing more to eliminate hate speech and disinformation.” Ex. 8 (CAL. ASSEMB. COMM.

ON JUDICIARY REPORT, AB 587, 2021–22 Sess., at 4 (Apr. 27, 2021)).

        31.     The government does not have a compelling interest—or any legitimate interest at

all—in applying such pressure. Yet that is precisely what S895B will do and that is precisely what

it is intended to do.

        32.     For example, X Corp. does not currently regulate “hate speech,” “racism,” or

“extremism,” which are three types of content that the Content Category Report Provisions force

social media companies to publicly address. But X does regulate “hateful conduct,” a category of

content that may include content that some people might argue constitutes “hate speech,” “racism,”

or “extremism.” See Ex. 9 (Hateful Conduct, X, https://help.x.com/en/rules-and-policies/hateful-

conduct-policy (last visited June 17, 2025)).

        33.     Similarly,   while   X   does   not   currently   regulate   “misinformation”     or

“disinformation,” see § 1102(1)(c), X does regulate “manipulated, or out-of-context media that

may result in widespread confusion on public issues, impact public safety, or cause serious harm.”

See Ex. 10 (Authenticity, X, https://help.x.com/en/rules-and-policies/authenticity (last visited June

17, 2025)).

        34.     While the law does not force X to adopt and regulate “hate speech,” “racism,”

“extremism,” “misinformation,” or “disinformation,” it attempts to pressure X to do so in an

insidious and impermissible way. Put differently, by requiring public disclosure of the content-

moderation policies covered platforms adhere to with respect to the highly controversial topics

that the State has identified, the State is seeking nothing less than increasing public pressure on




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covered platforms like X to regulate and therefore limit such content, notwithstanding that just

such decisions are not for the State to make.

       35.     S895B and its Content Category Report Provisions are, in short, an attempt by the

State to impermissibly frame the debate about content moderation in a way that pressures social

media companies to regulate constitutionally protected content that the State finds objectionable.

       36.     Social media content moderation is an inherently controversial undertaking. How

social media companies apply their content-moderation rules to particular posts is a sensitive and

controversial exercise that is subject to rigorous debate and controversy. Deciding what content

should appear on a social media platform is a question that engenders considerable debate among

reasonable people about where to draw the correct proverbial line.

       37.     This is not a role that the government may play. “However imperfect the private

marketplace of ideas,” a “worse proposal,” as here, is “the government itself deciding when speech

[is] imbalanced, and then coercing speakers to provide more of some views or less of others.”

Moody, 603 U.S. at 733.

       38.     The Content Category Report Provisions are not saved by the fact that the State is

using them to apply pressure on covered platforms indirectly, rather than directly. As the Supreme

Court has made clear, when it comes to First Amendment rights, “a government official cannot do

indirectly what she is barred from doing directly.” Vullo, 602 U.S. at 190; see also Smith v. Cal.,

361 U.S. 147, 154 (1959) (government efforts to impose a system that encourages “self-

censorship” by booksellers violates the First Amendment because it results in censorship

“compelled by the State . . . affecting the whole public”); NetChoice, LLC, 113 F.4th at 1118

(striking down law on First Amendment grounds that “deputizes covered businesses into serving

as censors for the State”).




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                                  FIRST CAUSE OF ACTION

(Declaratory Relief and Preliminary and Permanent Injunctive Relief for Violations of the
First Amendment of the United States Constitution (42 U.S.C. § 1983) and Article I, Section
               8, of the New York Constitution—Facial and As-Applied)

       39.     X Corp. realleges and incorporates herein by reference each and every allegation

set forth above.

       40.     The Content Category Report Provisions violate the First Amendment of the United

States Constitution and Article I, Section 8, of the New York Constitution, both facially and as-

applied to X Corp., by compelling X Corp. and the other covered social media companies to

divulge publicly, under the threat of significant financial penalty and civil suit, their “policy

opinion about contentious issues, such as what constitutes hate speech or misinformation and

whether to moderate such expression.” X Corp., 116 F.4th at 899; see also id. at 901–02 (“The

Content Category Report Provisions would require a social media company to convey the

company’s policy views on intensely debated and politically fraught topics, including hate speech,

racism, misinformation, and radicalization, and also convey how the company has applied its

policies.”). The First Amendment protects “both the right to speak freely and the right to refrain

from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714 (1977).

       41.     Because the “Content Category Report Provisions compel every covered social

media company to reveal” those opinions, they “raise the same First Amendment issues for every

covered social media company.” X Corp., 116 F.4th at 899; see also, e.g., Moody, 603 U.S. at 744

(quoting Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515 U.S. 557, 570 (1995)

(social media platforms “present[] a curated and edited compilation of [third party] speech,” which

“is itself protected speech”)); id. at 729–730 (“A private party’s collection of third-party content

into a single speech product (the operators’ ‘repertoire’ of programming) is itself expressive, and




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intrusion into that activity must be specially justified under the First Amendment.”); Miami Herald

Pub. Co. v. Tornillo, 418 U.S. 241, 258 (1974) (editorial control and judgment protected from

government regulation by First Amendment).8

        42.     “The Content Category Report Provisions compel non-commercial speech and are

subject to strict scrutiny.” X Corp., 116 F.4th at 899. The “Content Category Reports are not

commercial speech” because they “require a company to recast its content-moderation practices

in language prescribed by the State, implicitly opining on whether and how certain controversial

categories of content should be moderated.” Id. at 901. Accordingly, “few indicia of commercial

speech are present in the Content Category Reports.” Id.

        43.     The Content Category Reports are not commercial speech because, e.g., they (i)

“do not satisfy the ‘usual[ ] defin[ition]’ of commercial speech—i.e., ‘speech that does no more

than propose a commercial transaction,’” id. (quoting United States v. United Foods, Inc., 533

U.S. 405, 409 (2001)); and (ii) they “fail to satisfy at least two of the three Bolger factors,” since

they “are not advertisements” and “a social media company has no economic motivation in their

content,” id.; see also Bad Frog Brewery, Inc. v. N.Y. State Liquor Auth., 134 F.3d 87, 96–97 (2d

Cir. 1998) (quoting Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 66 (1983) (“core . . .

commercial speech” is “speech which does no more than propose a commercial transaction”)); id.

at 97 (citing Bolger, 463 U.S. at 66–67) (“Outside this so-called ‘core’ lie various forms of speech



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  The Content Category Report Provisions violate Article I, Section 8, of the New York Constitution for all
of the same reasons that they violate the First Amendment of the United States Constitution. See, e.g.,
Konikoff v. Prudential Ins. Co. of Am., 234 F.3d 92, 105 (2d Cir. 2000) (“[t]he protection afforded by the
guarantees of free press and speech in the New York Constitution is often broader than the minimum
required by the First Amendment”); C.R. Corps v. Pestana, 2022 WL 2118191, at *3 (S.D.N.Y. June 13,
2022) (“Article I, Section 8 [of the New York Constitution] generally offers broader protection than
the First Amendment”); Themed Restaurants, Inc. v. Zagat Surv., LLC, 781 N.Y.S.2d 441, 449 (Sup. Ct.
2004) (“the free speech guarantee of the New York State Constitution is even more stringent than that of
the First Amendment”), aff’d, 801 N.Y.S.2d 38 (App. Div. 1st Dep’t 2005).


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that combine commercial and noncommercial elements,” depending on factors such as “whether

the communication is an advertisement,” “whether the communication makes reference to a

specific product,” and “whether the speaker has an economic motivation for the communication,”

but none of these factors alone “would render the speech in question commercial,” and even the

“presence of all three” would not be dispositive for a finding that the speech is commercial).

       44.     In addition, each of the content categories about which X Corp. and the other

covered social media companies are compelled to speak—hate speech, racism, extremism,

radicalization, disinformation, misinformation, harassment, and foreign political interference

(§ 1102(1)(c))—is “anything but an ‘uncontroversial’ topic.” Nat’l Inst. of Fam. & Life Advocs.

v. Becerra (“NIFLA”), 585 U.S. 755, 769 (2018). The same is true about how such categories of

speech are defined and moderated on X. X Corp., 116 F.4th at 899 n.8 (“No matter how a social

media company chooses to moderate such content, the company will face backlash from its users

and the public. That is true even if the company decides not to define the enumerated categories,

because they will draw criticism for under-moderating their community.”). The deep-seated

controversy inherently tied to each topic in Section 1102(1)(c) makes crystal clear that the

disclosures compelled by the Content Category Report Provisions are not the sort of purely factual

and uncontroversial disclosures that fit within the narrow exception to strict scrutiny set forth under

Zauderer v. Off. of Disciplinary Couns. of Sup. Ct. of Ohio, 471 U.S. 626 (1985).

       45.     Because the Content Category Report Provisions “are content-based,” they are, at

the very least, “subject to strict scrutiny.” X Corp., 116 F.4th at 903 (citing NIFLA, 585 U.S. at

766); see also Volokh v. James, 656 F. Supp. 3d 431, 443 (S.D.N.Y. 2023) (striking down New

York’s Hateful Conduct Law under strict scrutiny, finding that the law did not compel commercial

speech, since it “compels a social media network to speak about the range of protected speech it




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will allow its users to engage (or not engage) in”); id. (“Because the Hateful Conduct Law regulates

speech based on its content, the appropriate level of review is strict scrutiny.”); id. at 445 (“Even

though the law does not require social media networks to remove ‘hateful conduct’ from their

websites and does not impose liability on users for engaging in ‘hateful conduct’, the state’s

targeting and singling out of this type of speech for special measures certainly could make social

media users wary about the types of speech they feel free to engage in without facing consequences

from the state.”).

       46.     As the Supreme Court held in NIFLA, the “Court’s precedents do not permit

governments to impose content-based restrictions on speech without persuasive evidence . . . of a

long (if heretofore unrecognized) tradition to that effect.” 585 U.S. at 767; see id. at 766 (laws

that “compel[] individuals to speak a particular message . . . alte[r] the content of [their] speech”

and constitute “content-based regulation[s] of speech”).

       47.     The Content Category Report Provisions also impermissibly substitute the

judgment of the government for that of the covered companies as to what content should remain

on their platforms. See Moody, 603 U.S. at 740 (it is not a “valid, let alone substantial” interest

for a state to seek “to correct the mix of speech” that “social-media platforms present”); id. at 742

(quoting Pac. Gas & Elec. Co. v. Pub. Utilities Comm’n of California, 475 U.S. 1, 20 (1986) (a

“State ‘cannot advance some points of view by burdening the expression of others’”)); id. at 734

(the “government may not, in supposed pursuit of better expressive balance, alter a private

speaker’s own editorial choices about the mix of speech it wants to convey”); id. at 719 ( “it is no

job for government to decide what counts as the right balance of private expression—to ‘un-bias’

what it thinks biased, rather than to leave such judgments to speakers and their audiences. That

principle works for social-media platforms as it does for others”); id. at 733 (“[h]owever imperfect




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the private marketplace of ideas,” a “worse proposal” is “the government itself deciding when

speech [is] imbalanced, and then coercing speakers to provide more of some views or less of

others”); see also Wash. Post v. McManus, 944 F.3d 506, 511–13, 519 (4th Cir. 2019) (striking

down state law that required, in an effort to address foreign interference in U.S. elections, “online

platforms,” within “48 hours of an ad being purchased,” to “display somewhere on their site the

identity of the purchaser, the individuals exercising control over the purchaser, and the total

amount paid for the ad,” and declaring the law “a compendium of traditional First Amendment

infirmities” that would “chill speech”); id. at 515 (“the fact that [the law] is content-based” and

“compels certain speech [] poses a real risk of either chilling speech or manipulating the

marketplace of ideas”).

       48.     These concerns are especially pronounced where, as here, the government’s

infringement of speech has the potential to impact multiple layers of speech—that is, not only the

speaker’s First Amendment rights to make editorial judgments about what speech belongs on a

given platform (e.g., a bookstore, movie theater, or here, a social media platform), but also the

public’s right to access constitutionally protected speech that the government may not suppress

directly. See, e.g., Smith, 361 U.S. at 154 (striking down, on First Amendment grounds, ordinance

imposing liability on booksellers that would “tend to restrict the public’s access to forms of the

printed word which the State could not constitutionally suppress directly . . . self-censorship,

compelled by the State, would be a censorship affecting the whole public, hardly less virulent for

being privately administered.”).

       49.     Even worse, the Content Category Report Provisions discriminate against speech

based on viewpoint, which renders them per se invalid. See Pleasant Grove City, Utah v.

Summum, 555 U.S. 460, 469 (2009) (finding that content-based restrictions “must satisfy strict




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scrutiny,” but “restrictions based on viewpoint are prohibited”). The Content Category Report

Provisions discriminate based on viewpoint because they do not compel disclosures about content-

moderation practices about categories that are “positive,” but do compel such speech for categories

perceived by the State to be negative—they compel disclosures about “hate speech,” but not “kind

speech.” See Iancu v. Brunetti, 588 U.S. 388, 393 (2019) (quoting Matal v. Tam, 582 U.S. 218,

249 (2017) (Kennedy, J., concurring) (explaining that such differential treatment “reflects the

Government’s disapproval of a subset of messages it finds offensive” and “is the essence of

viewpoint discrimination”)). It is hornbook law that such “ideologically driven attempts to

suppress a particular point of view are [at least] presumptively unconstitutional[.]” Rosenberger

v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 830 (1995).

        50.     The Content Category Report Provisions neither survive strict scrutiny, nor any

lesser standard of review.9

        51.     The Content Category Report Provisions are facially invalid under the First

Amendment because “a substantial number of [the law’s] applications are unconstitutional, judged

in relation to the statute’s plainly legitimate sweep.” Americans for Prosperity Found. v. Bonta,

594 U.S. 595, 615 (2021); see also X Corp., 116 F.4th at 904 (finding the Content Category Report




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  See, e.g., Ex. 3 at 207–09 (June 6, 2024 New York State Assembly Floor Debates, 2023–24 Reg. Sess.
(N.Y. 2024), available at https://www2.assembly.state.ny.us/write/upload/transcripts/2023/6-6-
24.pdf#search=%226789%22) (Assembly Member John McGowan stating “I’m not really sure what the
purpose of this bill is other than providing kind of vague government oversight of these social media
platforms that could have absolutely chilling effect on free speech”); id. at 218 (Assembly Member Edward
Flood stating “I’m still not sure . . . why we need to collect this data other than to potentially -- I mean,
maybe to me it makes it more difficult for these companies to transact business in New York without really
having a true reason for the data other than that our Attorney General may want to use this data against,
you know, individuals or companies within New York”); id. at 217–20 (Assembly Member Edward Flood
stating “I’m not sure why we need the data [called for by S895B]” and that it “doesn’t seem there’s a need
for [the law] at all”).


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provisions of AB 587 facially invalid under the First Amendment). They are also unconstitutional

as applied to X Corp.

       52.     There is a bona fide and actual controversy between X Corp. and Defendant

because Defendant is charged with enforcing, and intends to enforce, the Content Category Report

Provisions, even though they violate the First Amendment of the United States Constitution and

Article I, Section 8, of the New York Constitution, both facially and as-applied to X Corp.

       53.     X Corp. maintains that Content Category Report Provisions are illegal and

unconstitutional. Defendant claims otherwise.

       54.     X Corp. requests a judicial determination regarding the validity of the Content

Category Report Provisions to prevent the harm caused by their enactment and enforcement. Such

a determination is both necessary and appropriate to avoid the deprivation of X Corp.’s and the

other covered companies’ constitutional rights, which would occur if the Content Category Report

Provisions are applied to X Corp. or any other covered company.

       55.     Given the violation of the First Amendment of the United States Constitution and

Article I, Section 8, of the New York Constitution, X Corp. seeks injunctive relief against

enforcement of the Content Category Report Provisions. X and the other covered social media

companies would be irreparably harmed if they were forced to comply with the Content Category

Report Provisions and have no adequate remedy at law.




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                                 SECOND CAUSE OF ACTION

(Declaratory Relief and Preliminary and Permanent Injunctive Relief for Immunity Under
                       and Preemption by 47 U.S.C. § 230(c)(2)(A))

       56.     X Corp. realleges and incorporates herein by reference each and every allegation

set forth above.

       57.     47 U.S.C. § 230(c)(2)(A) directly conflicts with, and thus preempts, the Content

Category Report Provisions.

       58.     47 U.S.C. § 230(e)(3) provides that “[n]o cause of action may be brought and no

liability may be imposed under any State or local law that is inconsistent with this section.”

       59.     “Liability” under Section 230(e)(3) includes being subjected to the kind of financial

penalties and suits for injunctive relief authorized by Section 1103.

       60.     X is an “interactive computer service,” as that term is defined under 47 U.S.C.

§ 230(f)(2).

       61.     The Content Category Report Provisions impose liability on X Corp. with regard

to how it moderates content on X. This directly contravenes the immunity granted under Section

230(c)(2)(A), which provides that “[n]o provider or user of an interactive computer service shall

be held liable on account” of “any action voluntarily taken in good faith to restrict access to or

availability of material that the provider or user considers to be obscene, lewd, lascivious, filthy,

excessively violent, harassing, or otherwise objectionable, whether or not such material is

constitutionally protected[.]”

       62.     The immunity provided by Section 230(c)(2) is very broad. It precludes liability

for “any action” taken voluntarily in good faith by an interactive computer service to restrict access

to certain content. The Content Category Report Provisions impose such liability, however, if




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actions are taken by interactive computer services to restrict access to content without making the

disclosures required by the Content Category Report Provisions, to the State’s satisfaction.

       63.     The phrase “any action” in Section 230(c)(2)(A) means “any action,” including any

actions taken in good faith to restrict access to content without making the disclosures required by

the Content Category Report Provisions, to the State’s satisfaction.

       64.     The Content Category Report Provisions also contravene the immunity afforded to

interactive computer service providers such as X Corp. by Section 230(c)(2)(A) because Defendant

may penalize X Corp.—through significant monetary fines and suits for injunctive relief—if she

determines, in her sole unfettered discretion, that X Corp.’s Content Category Report “materially

omits or misrepresents required information[.]” See § 1103(b)(iii). Such imposition of financial

penalty and injunctive relief constitutes liability for X Corp “restrict[ing] access” to content in a

way that, in Defendant’s view, is contrary to X Corp.’s promulgated content-moderation policies.

       65.     There is a bona fide and actual controversy between X Corp. and Defendant

because Defendant is charged with enforcing, and intends to enforce, the Content Category Report

Provisions, even though such enforcement is precluded and preempted by 47 U.S.C.

§ 230(c)(2)(A).

       66.     X Corp. maintains that the Content Category Report Provisions are unconstitutional

under the Supremacy Clause and thus void as a matter of law. Defendant claims otherwise.

       67.     X Corp. seeks a declaratory judgment that the Content Category Report Provisions

are legally invalid and unenforceable because they are precluded and preempted by 47 U.S.C.

§ 230(c)(2)(A).

       68.     In light of the violation of the Section 230(c)(2)(A), X Corp. seeks injunctive relief

against enforcement of the Content Category Report Provisions. X Corp. would be irreparably




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harmed if it were forced to comply with, or litigate, the requirements thereof and has no adequate

remedy at law.

                                     PRAYER FOR RELIEF

        WHEREFORE, X Corp. respectfully requests that this Court enter judgment in X Corp.’s

favor and grant the following relief:

        1.       A declaration that the Content Category Report Provisions violate the First

Amendment of the United States Constitution and Article I, Section 8, of the New York

Constitution, both facially and as-applied to X Corp.;

        2.       A declaration that the civil penalties and injunctive relief imposed by the Content

Category Report Provisions are precluded and preempted by 47 U.S.C. § 230(c)(2)(A) and are

therefore null and void and have no legal effect;

        3.       A preliminary and permanent injunction enjoining Defendant and her employees,

agents, and successors in office from enforcing the Content Category Report Provisions;

        4.       An award of fees, costs, expenses, and disbursements, including attorneys’ fees, to

which X Corp. is entitled pursuant to 42 U.S.C. § 1988 and other applicable law; and

        5.       Such other and further relief as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, X Corp. demands a trial by jury in this

action of all issues so triable.




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Dated: June 17, 2025


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